                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:03CR219

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                 ORDER
                                    )
ANEWA TIARI- EL                     )
____________________________________)


        This matter is before the court upon its own motion. Having denied defendant’s Motion
for a New Trial, the court is prepared to schedule this matter for sentencing. The defendant is
directed to file a final sentencing memorandum by February 2, 2009. The government is
thereafter directed to file a response no later than February 16. The court will disregard the prior
filings and will consider the sentencing memorandum and response to be the final briefings
regarding sentencing in this case. No further briefing will be permitted. The court will thereafter
schedule the defendant for sentencing. Counsel may confer and contact the court informally
regarding proposed sentencing dates.
        IT IS SO ORDERED.


                                                 Signed: January 12, 2009




   Case 3:03-cr-00219-GCM-DCK              Document 209        Filed 01/12/09      Page 1 of 1
